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12
     Alex Derval, Morgan Simmons, and
13   on behalf of all other similarly situated
14
15
                             UNITED STATES DISTRICT COURT
16                          CENTRAL DISTRICT OF CALIFORNIA
17
18      Alex Derval, Morgan Simmons,                        Case No.:
19      and on Behalf of All Others                         CLASS ACTION
        Similarly Situated,
20
                                                            COMPLAINT FOR DAMAGES
21                       Plaintiff,                         AND INJUNCTIVE RELIEF
                                                            PURSUANT TO THE
22      v.                                                  TELEPHONE CONSUMER
23                                                          PROTECTION ACT, 47 U.S.C. §
        Xaler, a Cooperative Corporation                    227 ET SEQ.
24      and DOES 1-25,
25                                                          Jury Trial Demanded
                        Defendants.
26
27
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     PLAINTIFF’S REQUEST FOR ADMISSIONS (SET ONE)    - ! 1 of !18 -                       CASE NO.: BC653368
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 1                                          INTRODUCTION
 2   1.     Alex Derval (referred to as “Plaintiff Derval”) and Morgan Simmons (referred
 3          to as “Plaintiff Simmons”) (collectively referred to as “Plaintiffs”), bring this
 4          class action for damages, injunctive relief, and any other available legal or
 5          equitable remedies, resulting from the illegal actions of Xaler, a Cooperative
 6          Corporation, and Does 1-25              (referred to as “Defendant” or “Xaler”), in
 7          negligently, knowingly, and/or willfully contacting                Plaintiffs on Plaintiffs’
 8          cellular telephones, in violation of the Telephone Consumer Protection Act,
 9          47 U.S.C. § 227, et seq. (“TCPA”), thereby invading Plaintiffs’ privacy.
10          Plaintiffs allege as follows upon personal knowledge as to their own acts and
11          experiences and, as to all other matters, upon information and belief,
12          including investigation conducted by Plaintiffs’ attorneys.
13   2.     The TCPA was designed to prevent unwanted calls and text messages like the
14          ones described within this complaint, and to protect the privacy of citizens
15          like Plaintiffs. “Voluminous consumer complaints about abuses of telephone
16          technology – for example, computerized calls dispatched to private homes –
17          prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132
18          S. Ct. 740, 744 (2012).
19   3.     In enacting the TCPA, Congress intended to give consumers a choice as to
20          how creditors and telemarketers may call them, and made specific findings
21          that “[t]echnologies that might allow consumers to avoid receiving such calls
22          are not universally available, are costly, are unlikely to be enforced, or place
23          an inordinate burden on the consumer.” TCPA, Pub.L. No. 102-243, § 11.
24          Toward this end, Congress found that:
25
                 Banning such automated or prerecorded telephone calls to the
26               home, except when the receiving party consents to receiving the
27               call or when such calls are necessary in an emergency situation
                 affecting the health and safety of the consumer, is the only
28

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 1               effective means of protecting telephone consumers from this
                 nuisance and privacy invasion.
 2
 3          Id. at § 12; see also, Martin v. Leading Edge Recovery Solutions, LLC, 2012
 4          WL 3292838, at *4 (N.D. Ill. Aug. 10, 2012) (citing Congressional finding
 5          on TCPA’s purpose).
 6   4.     Congress also specifically found that “the evidence presented to the Congress
 7          indicates that automated or prerecorded calls are a nuisance and an invasion
 8          of privacy, regardless of the type of call […].” Id. At §§ 12-13. See also,
 9          Mims, 132 S. Ct. at 744.
10   5.     As Judge Easterbrook of the Seventh Circuit explained in a TCPA case
11          regarding calls to a non-debtor similar to this one:
12              The Telephone Consumer Protection Act […] is well known for its
                provisions limiting junk-fax transmissions. A less litigated part of
13              the Act curtails the use of automated dialers and prerecorded
14              messages to cell phones, whose subscribers often are billed by the
                minute as soon as the call is answered – and routing a call to
15              voicemail counts as answering the call. An automated call to a
16              landline phone can be an annoyance; an automated call to a cell
                phone adds expense to annoyance.
17
            Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).
18
     6.     The FCC has issued rulings and clarified that consumers are entitled to the
19
            same consent-based protections for text messages as they are for calls to
20
            wireless numbers. See Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 952
21
            (9th Cir. 2009) (The FCC has determined that a text message falls within the
22
            meaning of “to make any call” in 47 U.S.C. § 227(b)(1)(A)); Toney v. Quality
23
            Res., Inc., 75 F. Supp. 3d 727, 734 (N.D. Ill. 2014) (Defendant bears the
24
            burden of showing that it obtained Plaintiff's prior express consent before
25
            sending her the text message).
26
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     PLAINTIFF’S REQUEST FOR ADMISSIONS (SET ONE)    - ! 3 of !18 -                       CASE NO.: BC653368
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 1                                  JURISDICTION AND VENUE
 2   7.     Jurisdiction is proper under 47 U.S.C §227(b); Mims v. Arrow Fin. Servs.,
 3          LLC, 132 S.Ct. 740 (2012), because Plaintiffs allege violations of federal law.
 4   8.     Venue is proper in the United States District Court for the Central District of
 5          California pursuant to 18 U.S.C. § 1391(b) because Plaintiffs reside in Los
 6          Angeles, CA, the events giving rise to Plaintiffs’ causes of action against
 7          Defendant occurred in the State of California within the Central District of
 8          California (in or around Los Angeles, CA) and Defendant conducts business
 9          in the area in Los Angeles and other counties within the Central District.
10                                         PARTIES
11
     9.     Plaintiffs are, and at all times mentioned herein were, individuals, citizens and
12
            residents of the County of Los Angeles, in the State of California, who
13
            received the telephone call which is the subject of this complaint.
14
     10.    Plaintiffs are informed and believe, and thereon allege, that Defendant is, and
15
            at all times mentioned herein was a Corporation and therefore a “person,” as
16
            defined by 47 U.S.C. § 153 (39).
17
     11.    Plaintiffs are informed and believe, and thereon allege, that Defendant is a
18
            California corporation with branches and offices nationwide. Plaintiffs are
19
            informed and believe, and thereon allege, that at all relevant times, Defendant
20
            conducted business in the State of California, and within this judicial district.
21
     12.    Defendant is a recreational marijuana delivery service.
22                               FACTUAL ALLEGATIONS
23
     13.    At all times relevant, Plaintiffs are, and at all times mentioned herein were
24
            individuals and therefore, each a “person” as defined by 47 U.S.C § 153 (39).
25
     14.    Defendant is, and at all times mentioned herein was as California corporation,
26
            and therefore a “person” as defined by 47 U.S.C. §153 (39).
27
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     PLAINTIFF’S REQUEST FOR ADMISSIONS (SET ONE)    - ! 4 of !18 -                       CASE NO.: BC653368
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 1                FACTUAL ALLEGATIONS AS TO PLAINTIFF DERVAL
 2
 3   15.    Sometime prior to November 26, 2018, Plaintiff Derval was assigned, and
 4          became the owner of, a cellular telephone number from its wireless provider,
 5          with a number ending in “3301.”
 6   16.    On or about November 26, 2018, Plaintiff Derval received a text message on
 7          his cellular telephone from Defendant, in which Defendant utilized an
 8          automatic telephone dialing system (“ATDS”) as defined by 47 U.S.C. §
 9          227(a)(1), and prohibited by 47 U.S.C. § 227(b)(1)(A).
10   17.    Defendant sends text messages advertising its products and special deals
11          using automatic telephone dialing equipment to drive people to purchase its
12          products, use its services, and drum up business.
13   18.    The purpose of the telemarketing text messages was to convince consumers
14          like Plaintiff Derval to use Defendant’s recreational marijuana delivery
15          service and purchase Defendant’s product.
16   19.    The November 26, 2018 text message received by Plaintiff Derval stated to
17          reply “STOP” to that text message if Plaintiff Derval wanted to stop receiving
18          text messages from Defendant.
19   20.    The text message to Plaintiff Derval’s cellular telephone number was from
20          xaler83110000@maritext.com.
21   21.    On or about November 26, 2018, Plaintiff Derval replied “STOP” via text
22          message to the November 26, 2018 text message from Defendant thereby
23          revoking any consent that may have been granted to Xaler that would have
24          permitted Xaler to contact Plaintiff Derval’s cellular telephone.
25   22.    On or about December 3, 2018, Plaintiff Derval received a text message on
26          his cellular telephone from Defendant, in which Defendant utilized an
27          automatic telephone dialing system (“ATDS”) as defined by 47 U.S.C. §
28

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     PLAINTIFF’S REQUEST FOR ADMISSIONS (SET ONE)    - ! 5 of !18 -                       CASE NO.: BC653368
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 1          227(a)(1), and prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling
 2          goods or services.
 3   23.    On or about December 9, 2018, Plaintiff Derval received a text message on
 4          his cellular telephone from Defendant, in which Defendant utilized an
 5          automatic telephone dialing system (“ATDS”) as defined by 47 U.S.C. §
 6          227(a)(1), and prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling
 7          goods or services.
 8   24.    On or about December 17, 2018, Plaintiff Derval received a text message on
 9          his cellular telephone from Defendant, in which Defendant utilized an
10          automatic telephone dialing system (“ATDS”) as defined by 47 U.S.C. §
11          227(a)(1), and prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling
12          goods or services.
13   25.    This December 17, 2018 text message stated to reply “STOP” to that text
14          message if Plaintiff Derval wanted to unsubscribe.
15   26.    On or about December 17, 2018, Plaintiff Derval replied “STOP” via text
16          message to the December 17, 2018 text message from Defendant thereby
17          revoking any consent that may have been granted to Xaler that would have
18          permitted Xaler to contact Plaintiff Derval’s cellular telephone.
19   27.    On or about December 18, 2018, Plaintiff Derval again replied “STOP” via
20          text message to the December 17, 2018 text message from Defendant thereby
21          revoking any consent that may have been granted to Xaler that would have
22          permitted Xaler to contact Plaintiff Derval’s cellular telephone.
23   28.    On or about December 23, 2018, Plaintiff Derval received a text message on
24          his cellular telephone from Defendant, in which Defendant utilized an
25          automatic telephone dialing system (“ATDS”) as defined by 47 U.S.C. §
26          227(a)(1), and prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling
27          goods or services.
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     PLAINTIFF’S REQUEST FOR ADMISSIONS (SET ONE)    - ! 6 of !18 -                       CASE NO.: BC653368
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 1   29.    On or about December 23, 2018, Plaintiff Derval replied via text message to
 2          this December 23, 2018 text message from Defendant and Plaintiff Derval’s
 3          reply included the language of the TCPA that states that Defendant was
 4          required to stop contacting Plaintiff Derval via text message, and requested
 5          that Defendant cease contacting Plaintiff Derval.
 6   30.    On or about December 30, 2018, Plaintiff Derval received a text message on
 7          his cellular telephone from Defendant, in which Defendant utilized an
 8          automatic telephone dialing system (“ATDS”) as defined by 47 U.S.C. §
 9          227(a)(1), and prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling
10          goods or services.
11   31.    This December 30, 2018 text message stated to reply “STOP” to that text
12          message if Plaintiff Derval wanted to unsubscribe.
13   32.    On or about December 30, 2018, Plaintiff Derval replied “STOP” via text
14          message to the December 30, 2018 text message from Defendant thereby
15          revoking any consent that may have been granted to Xaler that would have
16          permitted Xaler to contact Plaintiff Derval’s cellular telephone.
17   33.    On or about January 7, 2019, Plaintiff Derval received a text message on his
18          cellular telephone from Defendant, in which Defendant utilized an automatic
19          telephone dialing system (“ATDS”) as defined by 47 U.S.C. § 227(a)(1), and
20          prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling goods or
21          services.
22   34.    This January 7, 2019 text message stated to reply “STOP” to that text
23          message if Plaintiff Derval wanted to unsubscribe.
24   35.    On or about January 7, 2019, Plaintiff Derval replied “STOP” via text
25          message to the January 7, 2019 text message from Defendant thereby
26          revoking any consent that may have been granted to Xaler that would have
27          permitted Xaler to contact Plaintiff Derval’s cellular telephone.
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     PLAINTIFF’S REQUEST FOR ADMISSIONS (SET ONE)    - ! 7 of !18 -                       CASE NO.: BC653368
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 1   36.    On or about January 14, 2019, Plaintiff Derval received a text message on his
 2          cellular telephone from Defendant, in which Defendant utilized an automatic
 3          telephone dialing system (“ATDS”) as defined by 47 U.S.C. § 227(a)(1), and
 4          prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling goods or
 5          services.
 6   37.    This January 14, 2019 text message stated to reply “STOP” to that text
 7          message if Plaintiff Derval wanted to unsubscribe.
 8   38.    On or about January 14, 2019, Plaintiff Derval replied “STOP” via text
 9          message to the January 14, 2019 text message from Defendant thereby
10          revoking any consent that may have been granted to Xaler that would have
11          permitted Xaler to contact Plaintiff Derval’s cellular telephone.
12   39.    On or about January 21, 2019, Plaintiff Derval received a text message on his
13          cellular telephone from Defendant, in which Defendant utilized an automatic
14          telephone dialing system (“ATDS”) as defined by 47 U.S.C. § 227(a)(1), and
15          prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling goods or
16          services.
17   40.    On or about January 28, 2019, Plaintiff Derval received a text message on his
18          cellular telephone from Defendant, in which Defendant utilized an automatic
19          telephone dialing system (“ATDS”) as defined by 47 U.S.C. § 227(a)(1), and
20          prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling goods or
21          services.
22   41.    On or about February 11, 2019, Plaintiff Derval received a text message on
23          his cellular telephone from Defendant, in which Defendant utilized an
24          automatic telephone dialing system (“ATDS”) as defined by 47 U.S.C. §
25          227(a)(1), and prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling
26          goods or services.
27
28

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     PLAINTIFF’S REQUEST FOR ADMISSIONS (SET ONE)    - ! 8 of !18 -                       CASE NO.: BC653368
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 1   42.    All of Defendant’s text messages to Plaintiff Derval’s cellular number were
 2          for marketing purposes as Defendant was trying to sell Plaintiff Derval
 3          Defendant’s services and products.
 4   43.    Defendant failed to take any effective steps to cease its unlawful conduct.
 5   44.    Upon information and belief, the ATDS used by Defendant has the capacity to
 6          store or produce telephone numbers to be called, using a random or sequential
 7          number generator.
 8   45.    The ATDS used by Defendant also has the capacity to, and does, call
 9          telephone numbers from a list of databases of telephone numbers
10          automatically and without human intervention.
11   46.    The telephone number Defendant text messages was assigned to a cellular
12          telephone service for which Plaintiff Derval incurred a charge for incoming
13          text messages pursuant to 47 U.S.C. § 227 (b)(1).
14   47.    Starting as early as November 26, 2018, Plaintiff Derval revoked, in writing,
15          any consent to Defendant’s sending text messages to Plaintiff Derval’s
16          cellular telephone with an ATDS as proscribed under 47 U.S.C. § 227(b)(1)
17          (A).
18   48.    The text messages sent by Defendant were in violation of 47 U.S.C. § 227(b)
19          (1).
20
21                 FACTUAL ALLEGATIONS AS TO PLAINTIFF SIMMONS
22
23   49.    Sometime prior to January 7, 2019, Plaintiff Simmons was assigned, and
24          became the owner of, a cellular telephone number from its wireless provider,
25          with a number ending in “7485.”
26   50.    On or about January 7, 2019, Plaintiff Simmons received a text message on
27          her cellular telephone from Defendant, in which Defendant utilized an
28          automatic telephone dialing system (“ATDS”) as defined by 47 U.S.C. §

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     PLAINTIFF’S REQUEST FOR ADMISSIONS (SET ONE)    - ! 9 of !18 -                       CASE NO.: BC653368
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 1          227(a)(1), and prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling
 2          goods or services.
 3   51.    This January 7, 2019 text message stated to reply “STOP” to that text
 4          message if Plaintiff Simmons wanted to unsubscribe.
 5   52.    On or about January 7, 2019, Plaintiff Simmons replied “STOP” via text
 6          message to the January 7, 2019 text message from Defendant thereby
 7          revoking any consent that may have been granted to Xaler that would have
 8          permitted Xaler to contact Plaintiff Simmons’ cellular telephone.
 9   53.    On or about January 14, 2019, Plaintiff Simmons received a text message on
10          her cellular telephone from Defendant, in which Defendant utilized an
11          automatic telephone dialing system (“ATDS”) as defined by 47 U.S.C. §
12          227(a)(1), and prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling
13          goods or services.
14   54.    This January 14, 2019 text message stated to reply “STOP” to that text
15          message if Plaintiff Simmons wanted to unsubscribe.
16   55.    On or about January 14, 2019, Plaintiff Simmons replied “STOP” via text
17          message to the January 14, 2019 text message from Defendant thereby
18          revoking any consent that may have been granted to Xaler that would have
19          permitted Xaler to contact Plaintiff Simmons’ cellular telephone.
20   56.    On or about January 21, 2019, Plaintiff Simmons received a text message on
21          her cellular telephone from Defendant, in which Defendant utilized an
22          automatic telephone dialing system (“ATDS”) as defined by 47 U.S.C. §
23          227(a)(1), and prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling
24          goods or services.
25   57.    On or about January 28, 2019, Plaintiff Simmons received a text message on
26          her cellular telephone from Defendant, in which Defendant utilized an
27          automatic telephone dialing system (“ATDS”) as defined by 47 U.S.C. §
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     PLAINTIFF’S REQUEST FOR ADMISSIONS (SET ONE)   - !10 of ! 18 -                       CASE NO.: BC653368
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 1          227(a)(1), and prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling
 2          goods or services.
 3   58.    On or about February 4, 2019, Plaintiff Simmons received a text message on
 4          her cellular telephone from Defendant, in which Defendant utilized an
 5          automatic telephone dialing system (“ATDS”) as defined by 47 U.S.C. §
 6          227(a)(1), and prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling
 7          goods or services.
 8   59.    On or about February 11, 2019, Plaintiff Simmons received a text message on
 9          her cellular telephone from Defendant, in which Defendant utilized an
10          automatic telephone dialing system (“ATDS”) as defined by 47 U.S.C. §
11          227(a)(1), and prohibited by 47 U.S.C. § 227(b)(1)(A), for purposes of selling
12          goods or services.
13   60.    All of Defendant’s text messages to Plaintiff Simmon’s cellular number were
14          for marketing purposes as Defendant was trying to sell Plaintiff Simmons
15          Defendant’s services and products.
16   61.    Defendant failed to take any effective steps to cease its unlawful conduct.
17   62.    Upon information and belief, the ATDS used by Defendant has the capacity to
18          store or produce telephone numbers to be called, using a random or sequential
19          number generator.
20   63.    The ATDS used by Defendant also has the capacity to, and does, call
21          telephone numbers from a list of databases of telephone numbers
22          automatically and without human intervention.
23   64.    The telephone number Defendant text messages was assigned to a cellular
24          telephone service for which           Plaintiff incurred a charge for incoming text
25          messages pursuant to 47 U.S.C. § 227 (b)(1).
26   65.    Starting as early as November 26, 2018, Plaintiff Simmons revoked, in
27          writing, any consent to Defendant’s sending text messages to Plaintiff
28

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     PLAINTIFF’S REQUEST FOR ADMISSIONS (SET ONE)   - ! 11 of 18
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 1           Simmons’ cellular telephone with an ATDS as proscribed under 47 U.S.C. §
 2           227(b)(1)(A).
 3   66.     The text messages sent by Defendant were in violation of 47 U.S.C. § 227(b)
 4           (1).
 5
 6                                               STANDING

 7   67.     Standing is proper under Article III of the Constitution of the United States of
 8           America because Plaintiffs’ claims state:
 9                  a. a valid injury in fact;
10                  b. which is traceable to the conduct of Defendant;
11                  c. and is likely to be redressed by a favorable judicial decision.
12           See, Spokeo, Inc. v. Robins, 136 S.Ct. 1540, 1543 (2016), and                       Lujan v.
13           Defenders of Wildlife, 504 U.S. 555 at 560.
14   68.     In order to meet the standard laid out in Spokeo and Lujan, Plaintiff must
15           clearly allege facts demonstrating all three prongs above.
16         A.The “Injury in Fact” Prong
17   69.     Plaintiffs’ injuries in fact must be both “concrete” and “particularized” in
18           order to satisfy the requirements of Article III of the Constitution, as laid out
19           in Spokeo (Id.).
20   70.     For an injury to be “concrete” it must be a de facto injury, meaning that it
21           actually exists. Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638
22           (7th Cir. 2012). In the present case,          Plaintiff were text messaged on their
23           cellular phone by Defendant, who utilized an ATDS and/or and artificial or
24           prerecorded voice. Such calls are a nuisance, an invasion of privacy, and an
25           expense to Plaintiffs. All three of these injuries are concrete and de facto.
26   71.     For an injury to be “particularized” means that the injury must “affect the
27           Plaintiff in a personal and individual way.” Spokeo, Inc. v. Robins, 136 S. Ct.
28           at 1548. In the instant case, it was Plaintiffs’ phones that received text


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 1           messages and Plaintiffs were distracted from work and compelled to check
 2           the text messages sent to Plaintiffs’ cellular phones by Defendant. It was
 3           Plaintiffs’ privacy and peace that was invaded by Defendant’s incessant text
 4           messages, that were delivered using an ATDS. Finally, Plaintiffs alone are
 5           responsible to pay the bill for his cellular phone. All of these injuries are
 6           particularized and specific to Plaintiffs, and will be the same injuries suffered
 7           by each member of the putative class.
 8         B. The “Traceable to the Conduct of Defendant” Prong
 9   72.     The second prong required to establish standing at the pleadings phase is that
10           Plaintiffs must allege facts to show that its injuries are traceable to the
11           conduct of Defendant.
12   73.     In the instant case, this prong is met simply by the fact that the message was
13           delivered to Plaintiffs’ cellular phones directly by Defendant, or by
14           Defendant’s representative at the direction of Defendant.
15         C. The “Injury is Likely to be Redressed by a Favorable Judicial Opinion”
16           Prong

17   74.     The third prong to establish standing at the pleadings phase requires Plaintiffs

18           to allege facts to show that the injury is likely to be redressed by a favorable

19           judicial opinion.

20   75.     In the present case, Plaintiffs’ Prayers for Relief include a request for damages

21           for each text message sent by Defendant, as authorized by statute in 47 U.S.C.

22           § 227. The statutory damages were set by Congress and specifically redress

23           the financial damages suffered by Plaintiffs and the members of the putative

24           class.

25   76.     Furthermore, Plaintiffs’ Prayers for Relief request injunctive relief to restrain

26           Defendant from the alleged abusive practices in the future. The award of

27           monetary damages and the order for injunctive relief redress the injuries of

28           the past, and prevent further injury in the future.


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 1   77.    Because all standing requirements of Article III of the U.S. Constitution have
 2          been met, as laid out in Spokeo, Inc. v. Robins, 136 S.Ct. 1540 (2016),
 3          Plaintiffs have standing to sue Defendant on the stated claims.
 4
 5                               CLASS ACTION ALLEGATIONS

 6   78.    Plaintiffs bring this action on behalf of himself and on behalf of all others
 7          similarly situated (“the Class”).
 8   79.    Plaintiffs represent, and are members of, the Class, consisting of:
 9
10                 All persons within the United States who had or have a number
11                 assigned to a cellular telephone service, who received at least one text
12                 message using an ATDS from Defendant between the date of filing this
13                 action and the four years preceding, where such text messages were sent
14                 and placed for the purpose of marketing where the recipient did not give
15                 their express consent to be contacted by Defendant.
16
17   80.    Defendant and their employees or agents are excluded from the Class.

18          Plaintiff does not know the number of members in the Class, but believes the

19          Class members number in the thousands, if not more.                       Thus, this matter

20          should be certified as a Class action to assist in the expeditious litigation of

21          this matter.

22   81.    Plaintiffs and members of the Class were harmed by the acts of Defendant in

23          at least the following ways: Defendant illegally contacted Plaintiffs and the

24          Class members via their cellular telephones thereby causing Plaintiffs and the

25          Class members to incur certain cellular telephone charges or reduce cellular

26          telephone time for which Plaintiffs and the Class members previously paid, by

27          having to retrieve or administer messages sent by Defendant during those

28

      ______________________________________________________________________________________________________
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 1          illegal text messages, and invading the privacy of said Plaintiffs and the Class
 2          members. Plaintiffs and the Class members were damaged thereby.
 3   82.    This suit seeks only damages and injunctive relief for recovery of economic
 4          injury on behalf of the Class and it expressly is not intended to request any
 5          recovery for personal injury and claims related thereto. Plaintiffs reserve the
 6          right to expand the Class definition to seek recovery on behalf of additional
 7          persons as warranted as facts are learned in further investigation and
 8          discovery.
 9   83.    The joinder of the Class members is impractical and the disposition of their
10          claims in the Class action will provide substantial benefits both to the parties
11          and to the Court. The Class can be identified through Defendant’s records
12          and/or Defendant’s agent’s records.
13   84.    There is a well-defined community of interest in the questions of law and fact
14          involved affecting the parties to be represented. The questions of law and fact
15          to the Class predominate over questions which may affect individual Class
16          members, including the following:
17                       i. Whether, within the four years prior to the filing of the
18                         Complaint, Defendant sent any text messages (other than a text
19                         message sent for emergency purposes or made with the prior
20                         express consent of the called party) to the Class members using

21                         any ATDS to any telephone number assigned to a cellular
                           telephone service;
22
                         ii.Whether Defendant sent text messages to recipients that had not
23
                           given their express consent to be contacted by Defendant by text
24
                           message for marketing purposes;
25
                         iii.Whether Plaintiff and the Class members were damaged thereby,
26
                           and the extent of damages for such violation(s); and
27
                         iv.Whether Defendant should be enjoined from engaging in such
28
                           conduct in the future.

      ______________________________________________________________________________________________________
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 1   85.    As a person who received calls from Defendant in which Defendant used an
 2          ATDS and/or artificial or prerecorded voice, without Plaintiffs’ prior express
 3          consent, Plaintiffs are asserting claims that are typical of the Class. Plaintiff
 4          swill fairly and adequately represent and protect the interests of the Class in
 5          that Plaintiff has no interests antagonistic to any member of the Class.
 6   86.     Plaintiffs and the members of the Class have all suffered irreparable harm as
 7          a result of the Defendant’s unlawful and wrongful conduct. Absent a class
 8          action, the Class will continue to face the potential for irreparable harm. In
 9          addition, these violations of law will be allowed to proceed without remedy
10          and Defendant will likely continue such illegal conduct. The size of Class
11          member’s individual claims causes, few, if any, Class members to be able to
12          afford to seek legal redress for the wrongs complained of herein.
13   87.    Plaintiffs have retained counsel experienced in handling class action claims
14          and claims involving violations of the Telephone Consumer Protection Act.
15   88.    A class action is a superior method for the fair and efficient adjudication of
16          this controversy. Class-wide damages are essential to induce Defendant to
17          comply with federal and California law. The interest of Class members in
18          individually controlling the prosecution of separate claims against Defendant
19          is small because the maximum statutory damages in an individual action for
20          violation of privacy are minimal. Management of these claims is likely to
21          present significantly fewer difficulties than those that would be presented in
22          numerous individual claims.
23   89.    Defendant has acted on grounds generally applicable to the Class, thereby
24          making appropriate final injunctive relief and corresponding declaratory relief
25          with respect to the Class as a whole.
26                               FIRST CAUSE OF ACTION:
            NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
27                     PROTECTION ACT 47 U.S.C. § 227 ET SEQ.
28

      ______________________________________________________________________________________________________
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 1   90.    Plaintiffs incorporate by reference all of the above paragraphs of this
 2          Complaint as though fully stated herein.
 3   91.    The foregoing acts and omissions of Defendant constitutes multiple negligent
 4          violations of the TCPA, including but not limited to each and every one of the
 5          above-cited provisions of 47 U.S.C. § 227 et seq.
 6   92.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
 7          Plaintiffs and the Class are entitled to an award of $500.00 in statutory
 8          damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 9   93.    Plaintiffs and the Class are also entitled to and seek injunctive relief
10          prohibiting such conduct in the future.
11
                        SECOND CAUSE OF ACTION:
12         KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
13            CONSUMER PROTECTION ACT 47 U.S.C. § 227 ET SEQ.

14   94.    Plaintiffs incorporate by reference all of the above paragraphs of this
15          Complaint as though fully stated herein.
16   95.    The foregoing acts and omissions of Defendant constitute multiple knowing
17          and/or willful violations of the TCPA, including but not limited to each and
18          every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
19   96.    As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
20          227 et seq., Plaintiffs and each of the Class are entitled to treble damages, as
21          provided by statute, up to $1,500.00, for each and every violation, pursuant to
22          47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
23   97.    Plaintiffs and the Class are also entitled to and seek injunctive relief
24          prohibiting such conduct in the future.
25
26                                      PRAYER FOR RELIEF

27   98.    Wherefore, Plaintiffs respectfully request the Court grant Plaintiffs and each
28          Class member the following relief against Defendant:

      ______________________________________________________________________________________________________
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 1
 2          FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                       THE TCPA, 47 U.S.C. § 227 ET SEQ.
 3
     99.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
 4
            Plaintiffs seek for themselves and each Class member $500.00 in statutory
 5
            damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 6
     100. Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
 7
            conduct in the future.
 8
     101. Any other relief the Court may deem just and proper.
 9
10                            SECOND CAUSE OF ACTION
11                    FOR KNOWING AND/OR WILLFUL VIOLATION
                          OF THE TCPA, 47 U.S.C. § 227 ET SEQ.
12
     102. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. §
13
            227(b)(1), Plaintiffs seek for themselves and each Class member treble
14
            damages, as provided by statute, up to $1,500.00 for each and every violation,
15
            pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
16
     103. Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
17
            conduct in the future.
18
     104. Any other relief the Court may deem just and proper.
19
20
                                            TRIAL BY JURY
21
     105. Pursuant to the seventh amendment to the Constitution of the United States of
22
            America, Plaintiffs are entitled to, and demand, a trial by jury.
23
                                                                   Respectfully submitted,
24
     Date: March 13, 2019                                          Los Angeles Legal Solutions
25
26
                                                                   By: s/F. Jay Rahimi____
27                                                                       F. Jay Rahimi, Esq.
28

      ______________________________________________________________________________________________________
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